                       IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF VIRGINIA



 JASON KESSLER,                    )
                                   )
                       Plaintiff,  )
                                   )
 v.                                )
                                   )                  Civil No. 3:18CV00015
 CITY OF CHARLOTTESVILLE, VIRGINIA
                                   )
                                   )
                and
                                   )
 MAURICE JONES,                    )
 Charlottesville City Manager      )
                                   )

                       Defendants.




        MOTION FOR A PRELIMINARY INJUNCTION AND/OR TEMPORARY
                          RESTRAINING ORDER

       Pursuant to Fed. R. Civ. P. 65, Plaintiff, by counsel, respectfully requests that the

Court grant him a temporary restraining order or preliminary injunction (1) enjoining

Defendants to allow Plaintiff’s demonstration to go on as planned in Emancipation Park during

normal hours on August 11 and 12, 2018; and 2) enjoining Defendants to provide such security

as may be necessary to protect the rights of the demonstrators and the public.

       As more fully set forth in Plaintiff’s Memorandum in Support, Plaintiff is likely to succeed

on the merits of its claims and will suffer irreparable harm in the absence of preliminary relief.




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The balance of equities tilts strongly in its favor, and an injunction protecting Plaintiff’s

constitutional rights is accord with the public interest.

       Wherefore a preliminary injunction and or temporary restraining order should issue.



                                                       Respectfully submitted,

                                                       JASON KESSLER


                                                       By Counsel


Dated: June 22, 2018


Counsel for Plaintiff




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                                CERTIFICATE OF SERVICE
I hereby certify that the above was served upon all parties of record via the Court's ECF system
   on June 22, 2018 and that no one entitled to service has requested or is need of service by
                                          other means.

s/ James E. Kolenich PHV
James E. Kolenich




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